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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION
                                       www.flmb.uscourts.gov

    In re:                                                          Chapter 7



    ROBERT W. SZOSTAK                                               Case No. 22-11098-MAM



                              Debtor.

                                                                /

        NOTICE OF VIDEO CONFERENCE REGARDING 2004 EXAM [DOC. NO. 44]

             Pursuant to the Notice of Rule 2004 Examination [Doc. No. 44] filed by creditors,

MicroBilt Corporation and Princeton Alternative (together, the “Creditors”), the Creditors hereby

provide the following video conference details for 2004 Exam scheduled to take place on June 17,

2022, at 10:00 a.m. (prevailing Eastern Time):1

https://gravitystack.zoom.us/j/83431853462?pwd=M0J1RnVvNFBCNWJ6bkFXTWFsYjd4dz09

                                Meeting ID: 834 3185 3462, Passcode: 314770



Dated: June 10, 2022                                   Respectfully submitted,


                                                       By: /s/ Alexis Leventhal
                                                           Alexis A. Leventhal (Fla. Bar No. 108064)
                                                           Reed Smith LLP
                                                           225 Fifth Avenue, Suite 1200
                                                           Pittsburgh, PA 15222
                                                           Telephone: (412) 288-3131
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                                                           Email: aleventhal@reedsmith.com



1
    This date is subject to change pending ongoing discussions with Debtor’s counsel.
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                                                 Counsel for MicroBilt Corporation          and
                                                 Princeton Alternative Funding, LLC

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 10, 2022, a copy of the foregoing was electronically

filed with the Court using the CM/ECF system, which sent notification to all parties of interest

who are participating in the CM/ECF system, and by First Class U.S. mail to all parties on the

attached mailing service list.


                                                   /s/ Alexis A. Leventhal
                                                   Alexis A. Leventhal


First Class U.S. Mailing List:
Robert W. Szostak
3191 S Dixie Hwy, Apt 515
West Palm Beach, FL 33405-1596




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